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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF l\/IASSACHUSETTS

REAL VIEW, LLC

Plaintiff
PBS
v.
20-20 TECHNOLOGIES, lNC.

Defendant

)

)
) Ctvil A<>m>n NO. 07_12157

 

20-20 TECHNOLOGIES, INC.

COunterclaim Plaintiff

V

REAL VIEW, LLC

Counterelairn De'fendant

and
BORIS ZELDIN and LEONID PERLOV

Third Party De'fendants

\/V`/v\/\./\/\./\./\/\_/\_/L/\./W\./V

 

EXPERT DISCLOSURE ()F RANDALL DAVIS
ON BEHALF OF 20-20 TECHNOLOGIES, INC.

Defend ant and plaintiff-in-counterelaim 20-20 Technologies, lne. (“20~20")

hereby identifies Randall Davis as its software expert to testify in this trial of this matter.

Dr. Davis` expert report7 curriculum vitae and a list of his testimonial experience Sinee

January l, 1991 are attached hereto.

13451895` |.LIT|GATION

20-20 TECHNOLOGIES, INC_

/s/ Tirnot.hv C. Blank
Timothy C. Blank (BBO #548670)
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UNITED STATES DISTR_ICT COURT

DISTRICT OF MASSACHUSETTS

 

Real View, LLC.,
Plai“fiff NO. 07-12157

v.

20-20 Teehnologies, lnc.

Defendant'

 

 

EXPERT REPORT OF
RANDALL DAVIS

5 l\/lay 2009

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l. INTRODUCTION

l, l arn a Professor ofCornputer Science at the Massachusetts lnstitute ofTechnology. l have
been retained by counsel for 20-20 Tech.nologics to examine and compare 20-20 Design and
ProKitchen.

2_ l\/ly background and experience are detailed in Exhibit A. l_n briei", lam a Professor Oi`
Cornputer Science at the l\/[assachusetts lnstitute of"l`echnology, having received an undergraduate
degree from Dartmouth, graduating summa cum laude, Phi Beta Kappa in 1970, and a Ph.D. from
Stant`ord University in artificial intelligence in 1976. l came to M.I.T. as an assistant professor in 1978,
and served for five years as Assoeiate Direetor ofthe l\/l.I.T. /-\rtificial lntelligence (A.l.) Laboratory.
From 2004 until 2007 l served as a Research Director in the 850-person l\/l.l.T. Cornputer Science and
Artiflcial lntelligence Laboratory that resulted from the merger ofthe A.I, Lab and the Lab t`or
Computer Seience.

3. My research group and l develop advanced tools that permit natural multi-rnodal interaction
with computers by creating software that understands users as they sketch, gesture, and tal_l<.

4. l have published approximately 50 technical articles related to artificial intelligence l have
served on several editorial boards, including A)'ti`fzcia/ /me//z`gelm:e, A] in Eng/.`neering, and the M.I.T.
Press series in A.l. l am a co-author ot`Knowlea'ge-Based Syslems m /l[.

5. ln recognition of my research, 1 was selected in 1984 as one of America’s top 100 scientists
under the age of40 by Science Di`gest. ln 1986, l received the /t] /tward from the Boston Cornputcr
Society for contributions to the tield. ln 1990, l was named a Founding Fellow ofthc Arneriean
Association for A.l. ln l995, l was elected to a two-year tenn as Presidcnt ofthe Association. ln 2003,
_l received M,I.T.’s l-`ranl< E. Perkins Award for graduate advising From 1995-1998, l served on the

Scientitic Advisory Board ofthe U. S. Air Forcc.

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6. l have been a consultant to several major organizations, including Digital Equipment Coip,
I.B.M., Aetna, and Sehlumberger. l also have been involved in the founding ofthree software
companies

7. In addition to my work with artificial intelligence l have also been active in the area ot`
intellectual property and so Ftware. A_mong other things, l have served as a member ofthe Advisory
Board to the U.S. Congressiona| thce ofTeehnology Assessment study on software and intellectual
property, published in 1992 as Fz`ndmg a Bc//ance.' Compuler Sofrware, In[el/ectuc/l Properly, and the
Cha/Ienge ofTec/’mologz`cal Cha)ige. l have published a number of articles on the topic, including co-
authoring an article in the Columbz`ci Law Review in 1994 entitled “A Manitesto Concerning Legal
Protection ofComputer Programs,” and an article in the Soft'ware Law Jour)m[ in 1992 entitled “The
Nature of Software and its Consequences for Establishing and Evaluating Similarity.” From 1998-
2000, l served as the chairman ofthe National Academy of Sciences study on intellectual property
rights and the emerging information infrastrueture entitled The DigimlDiZem/¢m: Inte/lecz'ua/ Property
in the /nformalz`o)v Age, published by the National Academy Press in February, 2000

8. l_n 1990 l served as expert to the Court in Compz/te)' Assoc)`ales v. A/tai, (775 F. Supp. 544
(E.D.N.Y, 1991); 982 F 2d 693) a case that produced the abstraction, filtration, comparison test for
software copyright ln 19981 served as the US Government’s expert in the lnslaw matter (40 Fed. Cl.
843', 1998 U.S. Claims), where l investigated allegations ol" copyright theft and cover-up by the Federal
Bureau ot`lnvestigation, the National Seeurity Agency, the Drug Ent`orcernent Agency7 the United
States Customs Serviee, and the Defense lntelligence Agency

9. This report is based on my experience and expertise in the Held ot`computer science and

review of the materials cited in the text and exhibits ofthis report

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II. SUMMARY AND OVERVlEW OF THIS REPORT

10. l find that:

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'l`he user interface ofProKitchen is substantially similar to that of 20-20 Design.

The similarities range from the selection and organization ofelements ofthe overall
layout of the sereen, down to selection and arrangement of minor details of both
programs

ln at least one case, the similarity is so detailed that ungraminatical text found in a
version ofthe 20~20 Design interfaces appears verbatim in a version ofProKitchen_
The similarities are extensive enough that familiarity with one program is sufficient to
enable facile use ofthe second with almost no additional training Tliis is manifestly not
the case for most programs, even those designed to do the same task.

The similarities are extensive enough that ProKitchen might easily be thought of by a
user as a different version of 20-20 Design. That is, the two programs share as much of
their user interface design as is routinely found between two subsequent versions ofthe
same program produced by one company (e,g., the difference between Microsoft`s
Word 2000 and Word 2003).

Both ofthose programs fit into a common hierarchy ofprogram types: they are
computer-aided design (CAD) systems, aimed at architectural design more specifically;
and aimed at kitchen design more specifically still.

Some number of the individual interface elements ofthe design of both programs can be
found in other CAD systems, other architectural design software, and other kitchen
design software But the selection and organization of those elements is vastly more
similar between 20-20 Design and ProKitchen than it is between either ofthose and any

ofthe other programs l examined

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ll. l have also been asked to comment on the relative value ofthe user interface While a
quantitative analysis is beyond the scope ofthis document, it is fair to say that in a market situation
where the leaders provide roughly comparable hinctionality, program usabi|ity becomes increasinglyv
important Simply put, if people can get the capabilities they need from more than one program, they

place increasing emphasis on how easy and intuitive those programs are to use.

IIl. BACKGROUND

12. There is a long history of CAD software designed to make it easier to design and visualize,
dating back at least to [van Sutherland’s famous Sketchpad program in 1963. Ovcr the years the
software has evolved in parallel with the transition of computers from strictly industrial devices to
home appliances Software for home and garden design intended for retail customer use is now widely
available, as well as more sophisticated programs intended for horne design and renovation companies

13. 20~20 Design has been iri this held since at least 1987_ 20-20 Design Version 61 was
released in August 2002. I understand that subsequent versions have appeared over time, including 6.4
(Sept 2003)J 8.0 (l\/lay 2006), and 8.1 (Spring 2008).

l4. The first appearance of Real\/iew’s ProKitchen appears to be Januaiy 2006 (version 1.0),
with subsequent versions over the next two years, including 2.0 (Jan 2007) and 3.0 (Feb 2008).

15. 1 understand that Real\/iew acknowledges obtaining a copy of 20-20 Version 6.1, installing
it and examining it, allegedly so it could determine what features ProKitchen lacked and what it could
add to surpass 2020 in usability. l further understand that ProKitchen development began in 2004, i_et,

at a time when 20-20 Design Version 6.1 had been on the market for roughly two years.

IV. COMPARING 20-20 DES[GN AND PROK]TCHEN

16. l considered five programs in my comparison;
» Version 6.1 and Version 8_1 of 20-20 Design,
o Version 2.0 and 3.0 of ProKitchen
o Planit FusionLive 14_2.8
¢ ChiefArchitect X2 Trial \/ersion (downloaded from their web site)

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» Configura CET Designer 2.2 (t_rial version, downloaded from their web site)

17_ l focused primarily on ProKitchen 3.0 and the two versions of 20-20 Design, as the
similarities between these two were far more extensive than between 20-20 and any ofthe other
programs The comparison l have done is reasonably thorough, but not exhaustive; additional
similarities may become evident as l continue work.

18. As noted above, similarities between the user interfaces of 20-20 Design and ProKitchen
are numerous and extensive, ranging from the selection and arrangement ofthe overall screen display,
down to interface details controlling how to draw walls Unless otherwise indicated, comparisons
below are between 20-20 Version 6.1 and ProKitchen Vci'sion 3, and for the sake ofconcreteness, l use
a simple kitchen design that l created

19. As the issues here concern the user interface, the points are best made by illustrationl We

begin with the overall screen layout:'

 

l 'l`hroughout the document screen shots have been rc-sized for legibility and to provide convenient side-by-side
comparison when relevant

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20. The two programs share routine interface design elements, including the presence ofa set
of drop-down menus across the top, under which there arc a set of icons that offer fast access to many
ofthe same things found in the menus_ The rest ofthe window is the work area7 Which is in turn sub-
divided into multiple smaller windows As all ofthese are standard Windows interface conventions, it
is unsurprising to find them in both programs

2]. There are however, numerous similarities that are not explained on this basis ln both cases
the left side cfthc screen contains the same sequence ofsub-windows; an information box, an edit box,
a hierarchical catalog box, a drag and drop listing. There is also a search box in both, at the bottom in
20-20 Design and next to the bottom in ProKitchen.

22. ln both there is a vertical set of icons next to these boxes, with only a minor variation in
precise placement

23. ln both the main window is subdivided into a plan and elevation view, with the plan at the
bottom and the elevation at the top. ln both, design changes made in one ofthese views are
immediately reflected in the other

24. ln both programs both the plan and elevation Windows have multiple tabs, enabling
multiple views of the design; these tabs are re-nameable.

25. A non-trivial part of getting trained on and oriented to a new piece of software involves
coming to understand its overall layout and presentation ofinfonnation and icons> i.e.7 how it presents
its view ofthe tasl<. The overall layout ofthose two programs is so similar that familiarity with one
would instantly provide facility with the other. 'l`his is manifestly not the case with any ofthe other
programs l examined

26. While menus across the top are routine in Windows programs the content ofthose menus
of course differs Yet these two programs have clear evidence ofsimilarities in the selection and

arrangement of the menus and their items

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27. Consider the main menus:

§§ 20-20 Design - [Designa.kit]

 

W Fi|e Edit View P|aoe Project Design Nobes Dirnenslons Render Preferences Window He|p

ProKitchen “" - Professional Kitchen Planner by Real View

 

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28. ln both we find Place, l\lotes/Comrrientj Diinensions/Measurements, (As a notational
shoithand, l use namel/nameZ to indicate that 20-20 Design uses namel for something while
PrOKitchcn uses nameZ.)

29. Exaniining the submenus, and filtering out menu choices that are either routine in
Windows programs or commonly found in CAD/drawing progi‘ams, we find additional similaiitics of
selection and arrangement

~ File menu: Save as Image

l Edit menu: Attributes/Attribute

o View menu: Add Elevation A.rca/Elevation, Sh<)w Bill of Materials/Bill ofl\/laterial,
Drag & Drop List/ Catalog, lnformation Box/lnfo, 'Edit Box/Edit (ir_i side-by-side

listings, 20-20 Design examples are on the left):

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- Place menii: Walls/Wall; Openings & Obstacles/Window, Door',

Applianccs/Appliances', Cabinets/Cabinet, Countertops/Countertop, Trirns/Trim

 

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almost identical icons.

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0 Notes/Comments: Same two out ofthree ehoices, in same order

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30. Next we turn to the horizontal toolbar found just under the main menus. As noted, having
such a toolbar is a routine Windows convention, and some ofthe items on the tool‘oar would be found
in most Windows programs The Selection and arrangement of the specific items on the toolbar,

howeverJ varies from program to program Yet there are striking similarities in the two toolbars (20-20

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31. There is, for instance, the sequence of view modifiers OfSelect, Zoom in/out, Zoorn to
region, and Zoom to fit, as well as the presence ofan Elcvation view icon, a Bill of l\/latcrials icon, an
lsometric View icon and the Perspective/3D icon.

32. The two vertical toolbars provide a yet more Stril<ing example, as there is no Windows, or
CAD tool, convention to fall back on here, and because the two arc so plainly similar in the selection,

arrangement, and even the appearance ofthe icons;

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33. There are 22 icons in the ProKitchen toolbar; ofthese l7 are found in 20-20, with almost
identical icons and almost identical order: wall, construction line, u-shaped room, l-shaped room,
rectangular room, cabinets, windows, doors, appliances, countertop, trim, horizontal distance, vertical
distance, diagonal dista.nce, angular distance, point to line distance7 line to line distance

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34 As noted above, the group of sub-Windows On the left side ofthe screen is strikingly

similar in selection, arrangement, and appearance;

 

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35. ln both cases the group starts with a panel that previews the item to be placed in the design,
followed by an edit window, where size and placement details can be viewed, or entered manually
(e.g., you can either drag an item to place it or change its size, or simply type in the relevant position or
measurements).

36. Next there is a hierarchical catalog window, allowing the user to browse through available
design items, followed by a select and drag window - once an item is highlighted from the list at the
bottom, it can be placed in the design using the mouse.

37. The Find window works identically, allowing the user to type part or all ofa component
code (c_g., FDB 12) at which point the system will list only those components that start with this
sequence ot` letters

38. In both systems the expanded description ofthe items (e.g., the “Base FHD" text) can be

eliminated with a right click ofthe mouse, simplifying the appearance ot`the listing

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